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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA, et al., ex rel.    LEAVE TO FILE GRANTED ON
MICHELE CLARKE, TRICIA MULLINS and           JUNE 14, 2018
KRISTI WINGER SZUDLO,

                     Plaintiffs              C.A. No. 1:13-cv-11785-IT
      v.

AEGERION PHARMACEUTICALS, INC., et al.

                     Defendants.




           MEMORANDUM IN SUPPORT OF DEFENDANT DAVID SCHEER’S
              MOTION TO DISMISS SECOND AMENDED COMPLAINT
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                                     RELEVANT BACKGROUND

        On May 12, 2016, Aegerion announced that it was resolving false claims allegations for a

total of $40,000,000 (forty million dollars). Second Amended Complaint (“SAC”) ¶ 138. On

September 22, 2017, that deal was finalized with resulting press from the government. On

September 27, 2017, after the government completed its investigation of Aegerion; after the

government settled with Aegerion and received a forty million dollar settlement; and after both

the Department of Justice and the Securities and Exchange Commission had published reams of

documents detailing the false claims case they were resolving, the Relators decided to add six

defendants to this qui tam action, ostensibly to help the government identify and rectify false

claims made against it – the very false claims it had already pursued.

        Naming new defendants after this gusher of information became public in no way

assisted the government to pursue its false claims case.1 The case against them should be

dismissed on that ground alone. The facts necessary for Relators’ claims were known long

before the original complaint was filed in July 2013, and certainly before David Scheer and the

other new defendants were added to this action on September 27, 2017.

        From 2004 through 2016, Mr. Scheer was a member of the Board of Directors of

Aegerion Pharmaceuticals, Inc. (“Aegerion”). SAC ¶ 20. Mr. Scheer is mentioned only once in

the original complaint and only once again in the First Amended Complaint (“FAC”), each time

to identify him as the Chairman of the Board of Aegerion. See Original Complaint ¶ 68; FAC ¶




1
 In fact, the essence of the original and first amended complaints also relies on facts that had been public long
before the complaints were filed. Even the minute details of the case were known, however, before Mr. Scheer was
named as a defendant.
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71. This information was public, however, and was even included in a press release by

Angiochem on June 2, 2010.2

                   RELEVANT PROCEDURAL BACKGROUND AND PUBLICATION OF
                  INFORMATION RELATED TO THIS ACTION BY THE GOVERNMENT

        Relators filed their original complaint in this action on July 23, 2013. See SAC ¶ 26;

Original Complaint. On March 18, 2014, Relators filed the FAC against Aegerion, Mark Beer,

Greg Fenner, and Craig Fraser (collectively, the Original Defendants), Dkt. No. 12, in which

Relators essentially alleged that the Original Defendants participated in a scheme to market and

sell Juxtapid off-label to patients who did not actually have HoFH, despite the FDA limiting its

approval of the drug to patients with HoFH, and knowingly causing false claims for

reimbursement of these prescriptions to be submitted to the U.S. government, FAC ¶¶ 2-6, 9.

        On September 22, 2017, the Department of Justice (“DOJ”) issued detailed press releases

announcing that Aegerion had agreed to pay over $35 million to settle criminal and civil claims

related to an alleged off-label marketing scheme involving Juxtapid.3 Included in the press

releases was a detailed summary of Relators’ claims and theory of liability in this action and

resulting settlement between Relators, the government and Aegerion. Id. For example, the Office

of Public Affairs Press Release states:

        Aegerion will pay $28.8 million over three years to resolve federal and state civil
        liability for causing false claims for Juxtapid to be submitted to government
        health care programs (Medicare, Medicaid, and TRICARE) arising from its
        promotion of Juxtapid for patients without a diagnosis of, or consistent with,

2
  Angiochem Appoints David Scheer to its Board of Directors, ANGIOCHEM (Jun. 2, 2010), available at
http://angiochem.com/angiochem-appoints-david-scheer-its-board-directors (“[Scheer’s] current board relationships
include . . . Aegerion Pharmaceuticals, Inc. (of which he is Chairman) . . . .”).
3
  Drug Maker Aegerion Agrees to Plead Guilty and Pay $35 Million to Resolve Criminal Charges and False Claims
Act Allegations, DOJ, (Sept. 22, 2017), available at https://www.justice.gov/usao-ma/pr/drug-maker-aegerion-
agrees-plead-guilty-and-pay-35-million-resolve-criminal-charges-and (“U.S. Attorney’s Office Press Release”);
Drug Maker Aegerion Agrees to Plead Guilty; Will Pay More Than $35 Million to Resolve Criminal Charges and
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aegerion-agrees-plead-guilty-will-pay-more-35-million-resolve-criminal-charges-and (“Office of Public Affairs
Press Release”).


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        HoFH; false and misleading statements to doctors that the use of Juxtapid was
        appropriate in patients with symptoms including high cholesterol, irrespective of
        whether such patients had a diagnosis of HoFH and despite counter-indications to
        a diagnosis of HoFH; and alteration or falsification of statements of medical
        necessity and prior authorizations that were submitted to federal health care
        programs.

The U.S. Attorney’s Office Press Release contains similar information. Attached to these press

releases, the DOJ posted several other related documents, including Aegerion’s plea agreement,

in which Aegerion agreed to cooperate with the government in its investigation of any matter by

making available documents and present and former officers, directors, and employees to give

testimony and interviews, and by providing active assistance in pursuing investigations against

present or former office, director, or employee of Aegerion.4 Also on September 22, 2017, the

SEC posted Relators’ settlement agreement with Aegerion, in its entirety, on its website.5 The

settlement details Relators’ claims in this action that “Aegerion knowingly caused false or

fraudulent claims for Juxtapid to be submitted to the Federal health care programs.” Settlement

Agreement at 1-6; see also SAC ¶ 7.

        On September 27, 2017, after the government’s public announcement of information

about Aegerion’s settlement of Relators’ civil claims and other related matters, Relators filed the

SAC, adding defendants Melanie Detloff, William Dull, Mark Fitzpatrick, James Frigge, David

Scheer, Dr. Mark Sumeray, and UPenn as defendants (the “New Defendants”). See SAC at 1.




4
  Letter from DOJ to Joshua S. Levy, § 8, DOJ, (Sept. 22, 2017), available at https://www.justice.gov/opa/press-
release/file/998166/download, (“Aegerion Plea Agreement”).
5
  Settlement Agreement, SECURITIES EXCHANGE COMMISSION, available at
https://www.sec.gov/Archives/edgar/data/827809/ 000110465917058482/a17-22273_1ex10d2.htm (“Settlement
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                                                  ARGUMENT

I.      FCA CLAIMS BARRED BY PUBLIC DISCLOSURE RULE

        A.       Relators’ Claims Against the New Defendants Are Barred by the Public
                 Disclosure Rule.

        By the time the new defendants were added, the scheme alleged by Relators, i.e. that

Aegerion marketed and sold Juxtapid off-label to patients without HoFH, despite it being

approved only for HoFH patients, had been in the public domain for many years. Moreover,

Relators’ entire false claims theory had been publicized by the company and in DOJ press

releases and by the Securities Exchange Commission (“SEC”).6 Thus, the public disclosure

doctrine bars the SAC due to the publication of the fraudulent transaction alleged in this action

prior to the filing of the SAC.7 31 U.S.C. § 3730(e)(4)(A) (“The court shall dismiss an action or

claim under this section, unless opposed by the Government, if substantially the same allegations

or transactions as alleged in the action or claim were publicly disclosed . . . .”); United States ex

rel. D’Agostino v. EV3, Inc., 153 F. Supp. 3d 519, 531 (D. Mass. 2015), aff’d sub nom.

D’Agostino v. ev3, Inc., 845 F.3d 1 (1st Cir. 2016) (“[P]ublic disclosure occurs when the

essential elements exposing the particular transaction as fraudulent find their way into the public

domain.”) (citing U.S. ex rel. Ondis v. Woonsocket, 587 F.3d 49, 54 (1st Cir. 2009)); see also

U.S. ex rel. Osheroff v. Humana, Inc., 776 F.3d 805, 814 (11 Cir. 2015) (amended complaint was

substantially the same as publicly disclosed information because it shared the same “essential

allegation”). Allowing this suit to proceed against defendants who were added at this late stage

would be contrary to the purpose of a qui tam action. See U.S. ex rel. Poteet v. Bahler Med., Inc.,

6
  Relators themselves admit that “Following the federal government’s investigation, on May 12, 2016, it was
announced that Aegerion would pay $40 million over five years to settle allegations of off-label marketing to the
United States.” SAC ¶ 138.
7
  Relators make the perfunctory statement that they “sent further notice to the United States government and the
Plaintiff States of additional false claims alleged in this Second Amended Complaint on or about July 27, 2017,”
SAC ¶ 26, but that was 15 months after the settlement was announced. Relators do not allege that they disclosed any
particular facts about Mr. Scheer to the government.


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619 F.3d 104, 111 (1st Cir. 2010). Compare U.S. ex rel. Wilson v. Bristol-Myers Squibb, Inc.,

750 F.3d 111, 118 (1st Cir. 2014) (a “later-filed complaint that mirrors the essential facts as the

pending earlier-filed complaint does nothing to help reduce fraud of which the government is

already aware”); United States ex. rel. Kelly v. Novartis Pharm. Corp., 827 F.3d 5, 11 (1st Cir.

2016) (this principle applies equally to the original relator as to a new relator).

       The new allegations that Relators added in the SAC merely propose that Mr. Scheer, as a

board member and founder of Aegerion and trader of Aegerion stock, could have known about

and/or been involved in the alleged false claims related to Aegerion’s drug, Juxtapid. See e.g.,

SAC ¶¶ 77, 196-97, 199. Mr. Scheer’s role within the company had been publicly disclosed in

2010, before Mr. Scheer was added as a defendant, and the government could have pursued him

sua sponte without Relators’ assistance. The allegations with respect to Mr. Scheer add nothing

materially new to the alleged fraudulent scheme that already had been in the public domain for

years. It would be contrary to the purpose of the FCA to allow Relators to continue to amend the

complaint ad infinitum to add new members of Aegerion, after the government and Relators have

settled their claims with Aegerion, based on the same fraudulent scheme alleged in prior

complaints years ago. Relators’ claims against Mr. Scheer must be dismissed.

       B.      Relators Do Not Qualify for the Original Source Exception to the Public
               Disclosure Bar.

       Relators cannot salvage their claims by arguing that they were an “original source” of the

information under 31 U.S.C. § 3730(e)(4)(B). Ondis, 587 F.3d at 53-54. As discussed in more

detail in the Joint Memorandum, Relators cannot satisfy the first type of original source because

they disclosed to the government the essential elements underlying the claimed fraudulent

scheme after they were already publicly known. The new facts that they do include do not

“materially” add to the publicly disclosed allegations or transactions. While Relators include



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some color and detail in the Second Amended Complaint, the essential facts underlying the basis

for their claim of fraud already were widely known by the public prior to their initial talks with

the government, and were broadcasted in detail on September 22, 2017, when the government

publicized the settlement with Aegerion and details about the alleged fraudulent scheme.

Information about Mr. Scheer’s role within the company and trading activity also were in the

public domain years before the SAC was filed.

       Expertise that enables a relator to understand the significance of publicly disclosed

information, without more, is insufficient to qualify him as an original source. Ondis, 587 F.3d at

54-55. Just because Relators were former employees of Aegerion and had insight into how the

company was run and by whom does not by itself make Relators original sources of the

information. The FDA knew through meetings dating back to 2007 that Aegerion had plans to

pursue a marketing plan outside of the patient population actually diagnosed with HoFH, SAC ¶¶

50, 54, 57, 58, 62, and the news media provided detailed coverage of Aegerion’s marketing plans

with respect to Juxtapid and the HoFH population. The government did not need Relators to tell

it in September 2017 that Mr. Scheer was Chairman of the Board and because of his role, would

have been present at the Juxtapid launch meeting ─ that information had been publicly disclosed

in the media as of 2010 and April 2013 ─ and traded the company’s stock, which Mr. Scheer

reported to the SEC. Because they were in the public domain, none of these facts would have

been new to the government, and even if they were, they do not materially add to the fraudulent

transaction which indisputably already existed in the public domain.




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II.    RELATORS FAIL TO SATISFY RULE 9(B)

       A.      Relators Fail to Allege With Particularity any Link Between Scheer and the
               Alleged Fraud.

       With respect to Defendant Scheer, Relators do not come close to meeting the particularity

standard required by Fed. R. Civ. P. 9(b) for their fraud claims. Of the few allegations in the

SAC specifically referencing Mr. Scheer, the vast majority are conclusory and speculative.

Relators do not allege any specific facts that would link Mr. Scheer to the alleged fraud. Their

bald accusation that Mr. Scheer had an “off-label agenda” is not supported by any alleged

facts. SAC ¶ 197. Relators instead ask the Court to hold Mr. Scheer liable for fraud based solely

on his role in forming Aegerion, his position on the company’s Board of Directors, his

attendance at the Juxtapid launch meeting where he “would have” heard a presentation titled the

“Art of Not Defining HoFH,” and gains earned from trading Aegerion stock. SAC ¶¶ 20, 43-48,

77, 197-98. Relators also take issue with Mr. Scheer’s gains from the trading of Aegerion stock.

Id. ¶ 199. They claim that these profits are “evidence that Scheer condoned and encouraged the

illegal activity of other Defendants in this case.” Id. Apparently, they believe that selling stock is

ipso facto evidence of fraud. This would break new legal ground. These allegations fail to satisfy

Rule 9(b).

       As discussed in the Joint Memorandum, not only do Relators fail to identify a single

particular false claim, but the SAC is completely devoid of any facts showing a connection

between Mr. Scheer and the submission of a false claim, even if one had been particularly

alleged. Relators’ claims against Mr. Scheer fail on that basis alone.

       Relators are not entitled to application of the more flexible particularity standard

applicable to indirect false claims because they have not alleged that Mr. Scheer, or any other




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defendant, induced any third parties to submit false claims. There is no allegation in the SAC that

Mr. Scheer even interacted with any individual outside of Aegerion.

       B.      Relators Fail to State a Claim Against Scheer Because They do Not Allege
               that Any Act by Scheer Was Material to the Submission of Any False Claim.

       There is no allegation in the SAC that Mr. Scheer made any fraudulent representation

which could have affected the government’s payment decision in any way. The conclusory

allegations in the SAC aimed at all defendants, including Mr. Scheer, are insufficient to meet the

demanding materiality standard. See SAC ¶¶ 162, 203, 208.

       C.      Relators Fail to Allege Facts That Scheer Entered into an Agreement to
               Defraud the Government or Took Any Overt Act in Furtherance of the
               Alleged Conspiracy.

       A conspiracy claim under the FCA cannot survive a motion to dismiss if it does not

allege “(1) who the co-conspirators are, (2) when or where they entered into an agreement, or (3)

what overt acts they took in furtherance of the conspiracy.” U.S. ex rel. Leysock v. Forest Labs.,

Inc., 55 F. Supp. 3d 210, 221 (D. Mass. 2014). Relators fail to state a claim for conspiracy

against Mr. Scheer.

       Relators merely allege that: “Scheer conspired with the other Individual Defendants to

establish Aegerion as a company ostensibly serving the needs of the HOFH population, but all

the while the goal of the conspiracy was to sell Juxtapid into the off-label market knowing that

any claims for government reimbursement would be false claims.” SAC ¶ 196. This conclusory

allegation does not satisfy the particularity standard of Rule 9(b) or Rule 8. United States ex rel.

Ciaschini v. Ahold USA, Inc., 282 F.R.D. 27, 37 (D. Mass. 2012) (“Without specific information,

[an] allegation of conspiracy is a mere label or legal conclusion entitled to no weight.”); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The SAC lacks any allegation of an agreement

between Mr. Scheer and the other defendants, much less when or where that agreement was



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memorialized. Likewise, Relators fail to allege any overt acts that Mr. Scheer took in furtherance

of the alleged conspiracy.

III.   RELATORS FAIL TO STATE A CLAIM AGAINST SCHEER BECAUSE THEY
       FAIL TO SUFFICIENTLY ALLEGE ALL MATERIAL ELEMENTS OF THEIR
       CLAIMS

       A.      Relators Fail to Allege Facts Demonstrating That Scheer Had the Requisite
               Scienter to Commit the Alleged Fraud.

       Relators fail to plead any facts showing that Mr. Scheer had the necessary scienter to

commit fraud. A defendant can be liable under the FCA only where that defendant “knowingly . .

. causes to be presented a false or fraudulent claim for payment or approval.” 31 U.S.C. §

3729(a)(1)(A). To meet the pleading requirement for scienter, a complaint must allege that the

defendant either “ha[d] actual knowledge” of the claim’s falsity, or acted with “deliberate

ignorance” or “reckless disregard” to the falsity of the claim. Id. § 3729(b)(1). The United States

Supreme Court recently described the FCA’s scienter requirement as “rigorous.” Universal

Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989, 1996, 2002 (2016), on

remand to United States ex rel. Escobar v. Universal Health Servs., Inc., 842 F.3d 103, 110 (1st

Cir. 2016). “A relator does not satisfy the requirements of Rule 9(b) merely by pleading ‘fraud

by hindsight.’” D’Agostino, 153 F. Supp. 3d at 532 n.29 (quoting Gross v. Summa Four, Inc., 93

F.3d 987, 991 (1st Cir.1996)) (“[A] general averment that defendants knew earlier what later

turned out badly does not convey the necessary particularity that Rule 9(b) requires.”).

       Relators do not allege any specific facts demonstrating that Mr. Scheer had actual

knowledge of any false claim. Relators’ conclusory allegation that he did is not supported by any

facts alleged. For example, Relators admit that submission of false claims may not have been Mr.

Scheer’s goal, but allege that due to his status as a founder, Chairman of the Board, and one of

two Class 3 directors of Aegerion, he “would have known that Aegerion could not have achieved


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its peak sales, in excess of the entire patient population in the United States, without trespassing

into off-label marketing.” Id. ¶ 196 (emphasis added). This allegation says nothing about Mr.

Scheer’s actual knowledge of a false claim.

       “The presence of a motive cannot substitute for evidence of knowledge and intent” in

the qui tam realm.” United States ex rel. K&R Ltd. P'ship v. Massachusetts Housing Fin. Agency,

456 F. Supp. 2d 46, 62 (D.D.C. 2006), aff'd, 530 F.3d 980 (D.C. Cir. 2008); see also Universal

Health, 136 S. Ct. at 2002. Relators allege that Mr. Scheer is liable for making, or causing to

made, false claims by “pursuing his off-label agenda through his stewardship of Aegerion” based

solely on his role within the company and gains from trading Aegerion stock. SAC ¶ 197. Again,

this assumed motive is not a factual allegation about Mr. Scheer’s actual knowledge of a false

claim. Relators’ rampant assumptions and conclusory allegations are insufficient to state a fraud

claim against Mr. Scheer. Fed. R. Civ. P. 12(b)(6).

       B.      Scheer is Not Liable for Any Misconduct of Aegerion.

       As an Aegerion Board member, Mr. Scheer is not liable for any misconduct of Aegerion

merely by virtue of his position. Relators make no claim that Mr. Scheer acted ultra vires or

outside the scope of his role as a member of the Board or took any action personally with respect

to the alleged false claims. See, e.g., D'Agostino, 153 F. Supp. 3d at 540-41 & n.41. Relators and

the government already have settled their claims with Aegerion – they should not be allowed to

seek double recovery through Mr. Scheer for conduct attributable to the company.

                                           CONCLUSION

       The Court should grant Defendant Scheer’s Motion to Dismiss and dismiss all claims

against him with prejudice.




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                                              DAVID SCHEER,


                                              /s/ Stephen G. Huggard
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                      Certificate of Compliance with Local Rule 7.1(a)(2)

       I certify pursuant to Local Rule 7.1(a)(2) that on June 7, 2018 counsel for Defendants
conferred with counsel for Plaintiffs to attempt to resolve or narrow the issues in this motion.

                                                   /s/ Stephen G. Huggard
                                                   Stephen G. Huggard




                                      Certificate of Service

        I, Katherine A. Guarino, hereby certify that, pursuant to Local Rule 5.2(b)(2), on this
19th day of June, 2018, the foregoing document was filed electronically through the ECF system,
is available for viewing and downloading from the ECF system, and will be sent electronically to
counsel of record as registered participants identified on the Notice of Electronic Filing.

                                                   /s/ Stephen G. Huggard
                                                   Stephen G. Huggard




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